      Case 3:23-cv-24085-TKW-ZCB Document 23 Filed 01/30/24 Page 1 of 4




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January 30, 2024

VIA ECF
The Honorable T. Kent Wetherell, II
U.S. District Court
Northern District of Florida
One North Palafox Street
Pensacola, FL 32502-5665

Re:   Allan A. Kassenoff et al. v. Robert Harvey
      Case No. 3:23-CV-24085-TKW-ZCB (N.D. FL.)

Dear Judge Wetherell:
I am writing to the Court in connection with the Defendant’s pending Motion to
Dismiss the Amended Complaint (Dkt. 11). Specifically, over the past 24 hours, the
Defendant, Mr. Robert Harvey, has posted videos to his various social media
accounts concerning Mr. Kassenoff. For example, yesterday, Mr. Harvey posted a
video to his Instagram account seeking donations, explaining that he “is being sued
for $150 million by a man named Allan Kassenoff” who has “abuse[d] his wife and
kids.”1 This morning, Mr. Harvey posted a video to his TikTok page about this
lawsuit, falsely claiming that “there’s over 3,000 files that have been shared publicly
by Catherine Kassenoff.”2 In nothing short of true irony, Mr. Harvey complains in
that video that Mr. Kassenoff is bullying him by filing the instant lawsuit and again
asks his millions of followers to “donate” to his legal defense. Id.




1
 https://www.instagram.com/reel/C2tMn_SskGg/?igsh=d256dDF1dndraG91.
2
   https://www.tiktok.com/@therobbieharvey/video/7329888926900964654. Mr.
Harvey posted the identical video to his Facebook account.
https://www.facebook.com/therobbieharvey/videos/1171650907577316.
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     Case 3:23-cv-24085-TKW-ZCB Document 23 Filed 01/30/24 Page 2 of 4




To make matters worse, Mr. Harvey has begun “reposting” some of his old
defamatory videos, including one where he states as follows:
      “You know I think I have done 10 videos on this subject [of Allan
      Kassenoff]. Not even the worst narcissist on TikTok have been able to
      provide enough content for 10 videos. But Allan Kassenoff – that’s how
      bad he is. He has provided so much that it has required 10 videos.”3

Mr. Harvey’s recent actions are continuing to cause damage to Mr. Kassenoff. For
example, Mr. Kassenoff received the following harassing message via Facebook
Messenger this morning, no doubt as a result of Mr. Harvey’s recent posts:




Moreover, by reigniting his social media campaign against Mr. Kassenoff, Mr.
Harvey is compounding the damage he has done by making it even harder for Mr.
Kassenoff to find employment. In short, Mr. Harvey has simply not learned his
lesson; apparently nothing short of a substantial monetary judgment will cause him
to refrain from his defamatory ways.




3
  https://www.facebook.com/reel/1534868973777761. It appears that Mr. Harvey
may have subsequently removed this reposted video. However, the video was
originally posted by Mr. Harvey to his TikTok account on June 21, 2023.
https://www.tiktok.com/@therobbieharvey/video/7247159591526616366 (cited in
Amended Complaint (Dkt. 7) at ¶141).
                                        2
     Case 3:23-cv-24085-TKW-ZCB Document 23 Filed 01/30/24 Page 3 of 4




Respectfully,

/s/ Allan Kassenoff

Allan Kassenoff




                                     3
     Case 3:23-cv-24085-TKW-ZCB Document 23 Filed 01/30/24 Page 4 of 4




                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that, on January 30, 2024, a true and correct copy of

the foregoing document was uploaded to the Court’s CM/ECF system, which will

send a notice of electronic filing to all parties by operation of the system.



                                               /s/ Allan Kassenoff
                                               Allan Kassenoff




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